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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------X
In re:
                                                          CHAPTER 11
       TRIAX CAPITAL ADVISORS LLC,
                                                          CASE NO.: 19-24145 (RDD)
                          Debtor.
------------------------------------X

                                NOTICE OF ADJOURNMENT

       PLEASE TAKE NOTICE that the hearings in the above-referenced debtor’s case on

Southern Financial Group, LLC’s Motion for Relief from Stay to proceed with Texas State Court

litigation or, in the alternative, severance of Debtor (Dkt. No. 27) and all other matters, including

the Joint Motion to Approve Compromise between the Debtor and Southern Financial Group,

LLC (Dkt. No. 43) have been adjourned from June 12, 2020 to June 16, 2020 at 10:00 AM.

       PLEASE TAKE FURTEHR NOTICE that the hearing will be conducted by telephone

via Court Solutions. Please refer to the Court website at www.nysb.uscourts.gov or contact the

undersigned for information and guidance.

       PLEASE TAKE FURTHER NOTICE that such hearings will take place in Judge

Drain’s Courtroom of the Charles L. Brieant, Jr. Federal Building and Courthouse, 300

Quarropas Street, White Plains, New York 10601.

Dated: White Plains, New York
       June 8, 2020
                                                                      PENACHIO MALARA, LLP
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